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            EXHIBIT A
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                                             STANADYNE LEGAL STRUCTURE

                PPT-SD Holdings I, LLC            PPT-SD Holdings II, LLC                                                                      Former Members of
                                                                                                PPT-SD Holdings III, LLC
                     (Delaware)                        (Delaware)                                                                                Management of
                                                                                                     (Delaware)                                   Pure Power

                    50.4%                                21.6%                                    20%                                                   8%

                                                                    Stanadyne PPT Group Holdings, Inc.
                                                                               (Delaware)




                                                                        Stanadyne PPT Holdings, Inc.
                                                                    f/k/a Stanadyne Parent Holdings, Inc.
                                                                                 (Delaware)




                                                                                Stanadyne LLC
                                                                                  (Delaware)




             Pure Power Technologies, Inc.                                                        Stanadyne Changshu
                                                         Stanadyne, S.p.A.                                                            Stanadyne India Private Ltd.
                     (Delaware)                                                                       Corporation
                                                           (Brescia, Italy)                                                                (Chennai, India)
                                                                                                   (Changshu, China)




                                                                                                                           Stanadyne Mideast FZE.
                   Non-Debtor                   Debtor
                                                                                                                               (Sharjah, UAE)


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